JPML FORM 1A
DOCKET ENTRIES

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET No, 462 -. IN RE OLYMPIA BREWING CO., ET AL. SECURITIES LITIGATION

 

 

 

Date Pleading Description

 

 

 

81/03/10 MOTION TO TRANSFER, MEMORANDUM IN SUPPORT OF, SCHEDULE OF
CASES, CERT. OF SVC. -- Shearson, Loeb Rhoades, Inc.,
Loeb Rhoades & Co., Inc. and Loeb Rhoades & Co.
SUGGESTED TRANSFEREE DISTRICT: N. D. Illinois
SUGGESTED TRANSFEREE JUDGE: (ea)
81/03/12 AMBNDED CERT. OF SVC. (pldg. no. 1) -- Shearson, Loeb Rhoades, Inc.,

Loeb Rhoades & Co., Inc. and Loeb Rhoades & Co. {ea)

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BL /O3/14 2 REQUEST RAT TOTEM STON OF PINS parm gh Lowis Simger --

ADT 7 nN TY. a Resqat c Vey m
SPAT TD TO ABD TNCLUMING Aoril &, 1981 (cds)

ORDER
81/03/23 PANEK HEARING/-- Setting Motion for Panel hearing in Washington,
D. C. on April 30, 1981 (cds)

81/03/24 APPEARANCES --Philip C. Stahl, Esq. for Maryville Academy, Inc.,etal;
Kendall R. Meyer, Esq. for Walter M. Glass; Scott E. Jensen, Esq.
for Arnold H. Heltzer; Ronald A. Lev, Esq. for Rikki's, Inc.;
Andrew M. Schatz, Esq. for J. William Holland, etc.;

William T. Huyck, Esq. for Frances V. Papas and Turn-Key
Enterprises, et al.; Richard K. Wray, Esq. for Eugene R.

Corley, et al.; W Edward T. Joyce, Esq. for Frank McNichols;
Nicholas J. Etten, Esq. for Richard M. Shure, et al.;

Lewis S. Sandler, Esq. for Louis Singer, etc.; Steven L.
Bashwiner, Esq. for Shearson, Loeb Rhoades, Inc., Loeb Rhoades

& Co., Inc. and Loeb Rhoades & Coe; John V. EK Ryan, III, Esq.

for Jon Hedrich; James P. Chapman, Esq. for Thomas P. Danis;

John W. Dondanville, Esq. for Insurance Co. of North America;
Jeffrey R. Liebman, Esq. for Marina Bank; Harry F. Polos, Esq.
for A. T. Tsoumas; Paul B. Uhlenhop, Esq. for Richard Je
Bertoldi; Howard Kirschbaum, Esq. for Victor Nemeroff, etc. (ea)

81/03/26 APPEARANCE -- John M. Christian, Esq. for Hilda Mangel, et al. (ea)

81/03/27 APPEARANCE -- Larry L. Thompson, “sq. for Thomson & McKinnon, Inc. (ea)
81/03/30 APPEARANCES -- Stephen C. Sandels, Esq. for John and Donna Powell;
Barry T. McNamara, Esq. for Patrick Henry. (ea)

81/04/07 REQUEST FOR ADJOURMENT OF HEARING AND REQUEST FOR EXTENSION
OF TIME -- Plaintiff Louis Singer (rew)
81/04/07 ORDER -- Extending Time To File Response to Motion to ALL
to and including APRIL 30, 1981 -- ORDER FURTHER VACATES
Hearing Scheduled for April 30, 1981 in Washington, D.C.
Notified involved counsel and involved judges. (rew)

81/04/17 APPEARANCE -- William M. Ward for Deana W. Lindstrom, et al. (emh)

81/04/30 Letter -- Plaintiff Louis Singer consenting to transfer of
action to N.D. Illinois -- signed by Lewis S. Sandler
-- served all parties (cds)

 

 

 
JPML FORM 1A + Continuation , DOCKET ENTRIES -- p.
@ . ‘

DOCKET NO. 462 --

 

 

 

Date Pleading Description

 

81/07/17 ORDER DENYING MOTION AS MOOT -~- Notified involved counsel
clerks, judges and recipients. (eaf)

 

 

 
JPML Form 1
®

Revised: 8/78

DOCKET NO. 462 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE OLYMPIA BREWING CO., ET

AL. SECURITIES LITIGAT ION

 

 

SUMMARY OF LITIGATION

 

Hearing Dates

Orders

Transferee

 

Dates Filed

Type

Citation District Name of Judge

Assigned From

 

 

 

July 17, 1981 MO
denying

 

 

Special Transferee Information

 

DATE CLOSED:

7/17/81

 
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JPML FORM 1

DOCKET NO. 462

-- IN RE OLYMPIA BREWING CO.,

LISTING OF INVOLVED ACTIONS

ET AL. SECURITIES LITIGATION

 

 

Intra-
Office
Number,

Caption

District
and
Judge

Civil
Action
Number

Date

Transfer

Docket
Number

TransferedDate of

Dismissal
or Remand

 

Maryville Academy, et al. v.

Loeb Rhoades & Co.,

Inc.,
Inc.

Walter M
et al.

Glass v. Andrew C. Papas,

Arnold H. Heltzer v.
Coe, Inc.

Loeb Rhoades &

Hilda B. Mangel, et al. v. Loeb
Rhoades & Co., Inc., et al.

Patrick Henry v. Loeb Rhoades & Co.,

NwD.I11.
Getzanda

IN.-D.I11.
Getzandal

N.D.T11.
Getzandal

N.D.I11.
Getzanda

N.D.I11.

77-C-1206

nner

77-C-1629

nner

77-C-2440

nner

77-C-2536

nner

77-C-2704

Inc. Getzandanner

John R.
& Coe;

Powell, Loeb RhoaddsN.D.I1LLL 77-C-28606

Getzandanner

et al. v.
et al.

 

Inc.,

Deana W. Lindstrom, et al. v. Loeb

Rhoades & Co., Inc.

Rikki's, Ince. v. Loeb Rhoades & Co.,
Inc., et al.

Je William Holland,
Rhoades & Co., Inc.,

etc. ve. Loeb

et al.

Frances V. Papas ve. Loeb Rhoades &

Co., Inc., et al.

First Investors Discovery Fund,
et al. v. Loeb Rhoades & Co.,

Inc.,
et al.

N.D.I11.
Getzanda

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Getzanda

N.D.I11.
Getzanda

N.D.I11.
Get zanda

N.D.I11.

 

 

77-C=3820

nner

77-C-4314

nner

78-C-388

nner

78-C-705

nner

78-C-843

Getzandanner

 

 

 

 

 

 
Case, MDL No. 462 Document 1 Filed 05/19/15 Page 5 of 12

 

 

 

J FORM 1 =~ Continuation Listing of Involved Actions -- p. 2
DOCKET NO. 462 -- IN RE OLYMPIA BREWING CO., ET AL..SECURITIES LITIGATION
Intra- District) Civil Date of
Office and Action TransferflransfereePpismissal
Number Caption Judge Number Date Pocket No.pr Remand Misc.
A-12 | Eugene R. Corley, et al. v. R. Jack |N.D.111.| 78-c-850 1/07/9
‘| Bernhardt, et al. Getzandanner
A-13 Turn-Key Enterprises, et al. v. Loeb |N.D.1I11.j 78-c-896 7 17/8]
Rhoades & Co., Inc., et al. Get zandanner
A-14 Frank McNichols v. Loeb Rhoades & Co.jN.D.I11.] 78-C-947 4 hia)
Inc. Get zandanner
A-15 Phillip J. Schiller, et al. v. Loeb N.D.111.| 78-C-994 a/17] 5)
Rhoades & Co., Inc. Get zandanner
A~16 Richard M. Shure, et al. v. Loeb N.D.I11.| 78-C-2242 q 7 | 8/
Rhoades & Co., Inc., et al. Getzandainner !
; ; Loeb Rhoades Co Tac. |. 1) i ->
‘A-17 Louis Singer, etc. v. Skheasesen, et. 8 .D<N.Y¥ | 80-€tv 6135 nf

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JPML Form 4

  

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 462 -- In re Olympia Brewing Co., et al. Securities Litigation

 

 

 

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JPML FORM 4A =- Continuation

  

Panel Attorney Service List -- p. 2

DOCKET NO. _462 --

 

 

 

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JPML FORM 4A -- Continuation

   

Panel Attorney Service List -- p. 3.

DOCKET NO. 462 --

 

 

 

 

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JPML FORM 3 1

 

Pp.
COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET NO. 462 -~ IN RE OLYMPIA BREWING CO., ET AL. SECURITIES LITIGATION

Name of Par Named as Par in Following Actions

_

Loeb-Rhoades

Insurance Co. of North
America

Andrew C. Papas

John T. Papas

Patrick A. Papas

Turn-Key Enterprises

Loeb Rhoades & Co., Inc.

Dow Jones & Co., Inc.

Alan Abelson

Robert Bleiberg

Robert. Wilson

 
Robert Wilson Associates

R. Jack Bernhardt

Bache Halsey Stuart, Inc.

Donald B. Mothner

John Hedrich

Ralph Lynch

Howard Berg

William Fitzpatrick

Richard Shure

Peggy Shure

Strombecker Corp.

 
 

JPML FORM 3

 

p. 3

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET <0, AN.

Name of Par Named as Par in Following Actions

Penta Capital
Robert Krones
First Wall Street
Settlemen Corp.
Alan H. Shure
Myron B. Shure
Marina Bank
Thomas P. Danis

Thomson McKinnon Securitie

Russell J. Kaczmarek

Loeb Rhoades & Co.

Robert Bertoldi

 
Shearson, Loeb Rhoades,
Ince

 

 
